                    Case 16-04935                  Doc 1        Filed 02/16/16 Entered 02/16/16 16:43:26                               Desc Main
                                                                  Document     Page 1 of 92
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                          Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                         Check if this an amended
                                                                                                                                      filing




B 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                      About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.    Your full name

      Write the name that is on       Mark                                                            Sueann
      your government-issued          First name                                                      First name
      picture identification (for
      example, your driver's          P
      license or passport).           Middle name                                                     Middle name
      Bring your picture
      identification to your meeting
                                     Andrews                                                          Andrews
      with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.    All other names you have
      used in the last 8 years                                                                        Sueann Hounshell
      Include your married or
      maiden names.



3.    Only the last 4 digits of
      your Social Security
      number or federal               xxx-xx-0332                                                     xxx-xx-5991
      Individual Taxpayer
      Identification number
      (ITIN)




B 101 (Official Form 101)                           Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                  Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                               Desc Main
                                                             Document     Page 2 of 92
Debtor 1   Mark P Andrews
Debtor 2   Sueann Andrews                                                                              Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 1312 Elizabeth St
                                 Joliet, IL 60435
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Will
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                         Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other             Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                        I have another reason.                                           I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




B 101 (Official Form 101)                     Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
                  Case 16-04935               Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                 Desc Main
                                                               Document     Page 3 of 92
Debtor 1    Mark P Andrews
Debtor 2    Sueann Andrews                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the last
     8 years?                        Yes.
                                               District                                   When                             Case number
                                               District                                   When                             Case number
                                               District                                   When                             Case number



10. Are any bankruptcy cases         No
    pending or being filed by
    a spouse who is not filing       Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known



11. Do you rent your                 No.        Go to line 12.
    residence?
                                     Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                          bankruptcy petition.




B 101 (Official Form 101)                       Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
                   Case 16-04935                Doc 1        Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                               Document     Page 4 of 92
Debtor 1    Mark P Andrews
Debtor 2    Sueann Andrews                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time           No.       Go to Part 4.
    business?
                                        Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?
                                        No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                        No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                                  Code.

                                        Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any              No.
    property that poses or is
    alleged to pose a threat of         Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




B 101 (Official Form 101)                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
                   Case 16-04935               Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                              Desc Main
                                                                Document     Page 5 of 92
Debtor 1    Mark P Andrews
Debtor 2    Sueann Andrews                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                    I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                     I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                    I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                                Incapacity.     I have a mental illness or a                   Incapacity.      I have a mental illness or a mental
                                                                mental deficiency that makes                                    deficiency that makes me incapable of
                                                                me incapable of realizing or                                    realizing or making rational decisions
                                                                making rational decisions                                       about finances.
                                                                about finances.

                                                Disability.     My physical disability causes                  Disability.      My physical disability causes me to be
                                                                me to be unable to participate                                  unable to participate in a briefing in
                                                                in a briefing in person, by                                     person, by phone, or through the
                                                                phone, or through the internet,                                 internet, even after I reasonably tried to
                                                                even after I reasonably tried to                                do so.
                                                                do so.

                                                Active duty.     I am currently on active military             Active duty.     I am currently on active military duty in
                                                                 duty in a military combat zone.                                a military combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver of credit counseling with the court.                      counseling with the court.




B 101 (Official Form 101)                       Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
                  Case 16-04935               Doc 1           Filed 02/16/16 Entered 02/16/16 16:43:26                                   Desc Main
                                                                Document     Page 6 of 92
Debtor 1    Mark P Andrews
Debtor 2    Sueann Andrews                                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                 individual primarily for a personal, family, or household purpose.”
                                                  No. Go to line 16b.

                                                  Yes. Go to line 17.
                                   16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                              for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.
                                   16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after       Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                   paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                      No
     are paid that funds will be
     available for distribution                   Yes
     to unsecured creditors?

18. How many Creditors do             1-49                                               1,000-5,000                                   25,001-50,000
    you estimate that you             50-99                                              5001-10,000                                   50,001-100,000
    owe?
                                      100-199                                            10,001-25,000                                 More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                       $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                              $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                         $50,001 - $100,000
                                      $100,001 - $500,000                                $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                              $100,000,001 - $500 million                   More than $50 billion


20. How much do you                   $0 - $50,000                                       $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities to      $50,001 - $100,000                                 $10,000,001 - $50 million                      $1,000,000,001 - $10 billion
    be?
                                      $100,001 - $500,000                                $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                              $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Mark P Andrews                                                  /s/ Sueann Andrews
                                   Mark P Andrews                                                      Sueann Andrews
                                   Signature of Debtor 1                                               Signature of Debtor 2

                                   Executed on      February 16, 2016                                  Executed on      February 16, 2016
                                                    MM / DD / YYYY                                                      MM / DD / YYYY




B 101 (Official Form 101)                        Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 6
                 Case 16-04935                 Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                Desc Main
                                                                Document     Page 7 of 92
Debtor 1   Mark P Andrews
Debtor 2   Sueann Andrews                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ John P. Carlin                                                    Date         February 16, 2016
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                John P. Carlin
                                Printed name

                                John Carlin
                                Firm name

                                1305 Remington Road
                                Suite C
                                Schaumburg, IL 60173
                                Number, Street, City, State & ZIP Code

                                Contact phone     847-843-8600                                  Email address         jcarlin@changandcarlin.com
                                6277222
                                Bar number & State




B 101 (Official Form 101)                       Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                       Case 16-04935                   Doc 1            Filed 02/16/16 Entered 02/16/16 16:43:26                                                 Desc Main
                                                                          Document     Page 8 of 92
 Fill in this information to identify your case:

 Debtor 1                   Mark P Andrews
                            First Name                            Middle Name                           Last Name

 Debtor 2                   Sueann Andrews
 (Spouse if, filing)        First Name                            Middle Name                           Last Name


 United States Bankruptcy Court for the:                    NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                                          Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                    Your assets
                                                                                                                                                                    Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $               19,918.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $               19,918.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                    Your liabilities
                                                                                                                                                                    Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $               20,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                 5,401.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $              118,911.06


                                                                                                                                         Your total liabilities $              144,312.06


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 4,296.50

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 4,353.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                             Desc Main
                                                                  Document     Page 9 of 92
 Debtor 1     Mark P Andrews
 Debtor 2     Sueann Andrews                                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $         5,921.17


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                       $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $             5,401.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                     $            55,200.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                               $               60,601.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                       Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                                 Document     Page 10 of 92
 Fill in this information to identify your case and this filing:

 Debtor 1                   Mark P Andrews
                            First Name                     Middle Name                        Last Name

 Debtor 2                   Sueann Andrews
 (Spouse, if filing)        First Name                     Middle Name                        Last Name


 United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                                                         Check if this is an
                                                                                                                                                     amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1:     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:        Chrysler                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:       Town and Country                             Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
           Year:        2011                                         Debtor 2 only
                                                                                                                       Current value of the      Current value of the
           Approximate mileage:                  6000                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                  Check if this is community property                          $17,500.00                 $17,500.00
                                                                 (see instructions)



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $17,500.00

 Part 3:     Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
Official Form 106A/B                                                        Schedule A/B: Property                                                               page 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                  Case 16-04935                              Doc 1               Filed 02/16/16 Entered 02/16/16 16:43:26                             Desc Main
                                                                                  Document     Page 11 of 92
 Debtor 1         Mark P Andrews
 Debtor 2         Sueann Andrews                                                                                             Case number (if known)

       Yes. Describe.....
                                            misc used household goods                                                                                                  $900.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
       No
       Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
       No
       Yes. Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
       No
       Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                            used clothing                                                                                                              $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                               $1,300.00


 Part 4:   Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................


Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                 Case 16-04935                      Doc 1         Filed 02/16/16 Entered 02/16/16 16:43:26                                Desc Main
                                                                   Document     Page 12 of 92
 Debtor 1        Mark P Andrews
 Debtor 2        Sueann Andrews                                                                                  Case number (if known)

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                      Institution name:


                                         17.1.                                 Checking account with TCF                                                  $18.00



                                         17.2.                                 Savings account with ADP                                               $1,100.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
       Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                               Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...




Official Form 106A/B                                                    Schedule A/B: Property                                                             page 3
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                 Case 16-04935                      Doc 1           Filed 02/16/16 Entered 02/16/16 16:43:26                                               Desc Main
                                                                     Document     Page 13 of 92
 Debtor 1        Mark P Andrews
 Debtor 2        Sueann Andrews                                                                                             Case number (if known)

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
              unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                  Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:
                                           Term life insurance through employer -
                                           no current cash value                                                                                                                $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $1,118.00

 Part 5:   Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 4
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                  Case 16-04935                          Doc 1              Filed 02/16/16 Entered 02/16/16 16:43:26                                                 Desc Main
                                                                             Document     Page 14 of 92
 Debtor 1         Mark P Andrews
 Debtor 2         Sueann Andrews                                                                                                            Case number (if known)

       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                         Current value of the
                                                                                                                                                                         portion you own?
                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                         claims or exemptions.


 Part 7:   Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                              $0.00

 Part 8:   List the Totals of Each Part of this Form


 55.   Part 1: Total real estate, line 2 ......................................................................................................................                            $0.00
 56.   Part 2: Total vehicles, line 5                                                                       $17,500.00
 57.   Part 3: Total personal and household items, line 15                                                    $1,300.00
 58.   Part 4: Total financial assets, line 36                                                                $1,118.00
 59.   Part 5: Total business-related property, line 45
                                                                                                                          $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                            $0.00
 61. Part 7: Total other property not listed, line 54                                               +                     $0.00

 62. Total personal property. Add lines 56 through 61...                                                         $19,918.00               Copy personal property total              $19,918.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                               $19,918.00




Official Form 106A/B                                                                 Schedule A/B: Property                                                                                page 5
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                               Best Case Bankruptcy
                       Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                             Desc Main
                                                                 Document     Page 15 of 92
 Fill in this information to identify your case:

 Debtor 1                     Mark P Andrews
                              First Name                   Middle Name                 Last Name

 Debtor 2                     Sueann Andrews
 (Spouse if, filing)          First Name                   Middle Name                 Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

      misc used household goods                                          $900.00                                  $900.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

      used clothing                                                      $400.00                                  $400.00     735 ILCS 5/12-1001(a)
      Line from Schedule A/B: 11.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                        No
                        Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                       Case 16-04935              Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                     Desc Main
                                                                  Document     Page 16 of 92
 Fill in this information to identify your case:

 Debtor 1                   Mark P Andrews
                            First Name                      Middle Name                        Last Name

 Debtor 2                   Sueann Andrews
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                 $20,000.00               $17,500.00            $2,500.00
         Creditor's Name                          2011 Chrysler Town and Country
                                                  6000 miles
                                                  As of the date you file, the claim is: Check all that
         PO Box 130424                            apply.
         Saint Paul, MN 55113                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          2016                      Last 4 digits of account number         2114


   Add the dollar value of your entries in Column A on this page. Write that number here:                                $20,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $20,000.00

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.
          Name Address
          -NONE-                                                                            On which line in Part 1 did you enter the creditor?

                                                                                            Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                       Case 16-04935               Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                          Desc Main
                                                                   Document     Page 17 of 92
 Fill in this information to identify your case:

 Debtor 1                   Mark P Andrews
                            First Name                        Middle Name                      Last Name

 Debtor 2                   Sueann Andrews
 (Spouse if, filing)        First Name                        Middle Name                      Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
       1. Do any creditors have priority unsecured claims against you?

                No. Go to Part 2.

              Yes.
       2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim
          listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As
          much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation
          Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority           Nonpriority
                                                                                                                                             amount             amount
 2.1

              Illinois Department of Revenue                   Last 4 digits of account number       5458               $             0.00   $           0.00   $             $0.00
              Priority Creditor's Name
              P.O. Box 64338                                   When was the debt incurred?           2010
              Chicago, IL 60664
              Number Street City State ZIp Code                As of the date you file, the claim is: Check all that apply

              Who incurred the debt? Check one.                   Contingent
                 Debtor 1 only
                 Debtor 2 only                                    Unliquidated


                 Debtor 1 and Debtor 2 only                       Disputed

                 At least one of the debtors and another
                  Check if this claim is for a                 Type of PRIORITY unsecured claim:
              community debt
              Is the claim subject to offset?                     Domestic support obligations

                 No                                               Taxes and certain other debts you owe the government
                 Yes                                              Claims for death or personal injury while you were intoxicated
                                                                  Other. Specify
                                                                                            notice only




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 1 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                              37004                                            Best Case Bankruptcy
                  Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                           Desc Main
                                                                   Document     Page 18 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 2.2

            Internal Revenue Service                          Last 4 digits of account number        5444             $        2,700.00      $        2,700.00      $          $0.00
            Priority Creditor's Name
            P.O. Box 7346                                     When was the debt incurred?            2005
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                 As of the date you file, the claim is: Check all that apply

            Who incurred the debt? Check one.                     Contingent
                Debtor 1 only
                Debtor 2 only                                     Unliquidated


                Debtor 1 and Debtor 2 only                        Disputed

                At least one of the debtors and another
                Check if this claim is for a                  Type of PRIORITY unsecured claim:
            community debt
            Is the claim subject to offset?                       Domestic support obligations

                No                                                Taxes and certain other debts you owe the government
                Yes                                               Claims for death or personal injury while you were intoxicated
                                                                  Other. Specify
                                                                                            tax debt

 2.3

            State of Michigan                                 Last 4 digits of account number        5447             $        2,701.00      $        2,701.00      $          $0.00
            Priority Creditor's Name
            Dept. of Treasury                                 When was the debt incurred?            2005
            PO Box 30710
            Lansing, MI 48909
            Number Street City State ZIp Code                 As of the date you file, the claim is: Check all that apply

            Who incurred the debt? Check one.                     Contingent
                Debtor 1 only
                Debtor 2 only                                     Unliquidated


                Debtor 1 and Debtor 2 only                        Disputed

                At least one of the debtors and another
                Check if this claim is for a                  Type of PRIORITY unsecured claim:
            community debt
            Is the claim subject to offset?                       Domestic support obligations

                No                                                Taxes and certain other debts you owe the government
                Yes                                               Claims for death or personal injury while you were intoxicated
                                                                  Other. Specify



 Part 2:       List All of Your NONPRIORITY Unsecured Claims
       3. Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

       4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
          unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If
          more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation
          Page of Part 2.
                                                                                                                                                              Total claim
 4.1        Agha Medical Inc                                         Last 4 digits of account number       6631                                                $                 3.90
            Priority Creditor's Name
            1603 Woodland Lane                                       When was the debt incurred?
            Bolingbrook, IL 60490
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply

Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 19 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)


          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.2      Allied Collection Services                                 Last 4 digits of account number       3218                                          $           522.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 11/01/12
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Physicians - Bronson
                                                                                                Hospital


 4.3      Allied Collection Services                                 Last 4 digits of account number       6459                                          $           138.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 6/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 20 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.4      Allied Collection Services                                 Last 4 digits of account number       5355                                          $             92.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 6/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.5      Allied Collection Services                                 Last 4 digits of account number       5580                                          $             89.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 7/01/10
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.6      Allied Collection Services                                 Last 4 digits of account number       4102                                          $             98.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 12/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 21 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.7      Allied Collection Services                                 Last 4 digits of account number       3733                                          $             89.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 8/01/10
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.8      Allied Collection Services                                 Last 4 digits of account number       4931                                          $             43.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 4/01/12
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Bronson Methodist
                                                                                                Hospital Phy




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 22 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.9      Allied Collection Services                                 Last 4 digits of account number       2758                                          $           247.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 12/01/12
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Bronson Medical Group


 4.10     Allied Collection Services                                 Last 4 digits of account number       7297                                          $             92.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 10/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.11     Allied Collection Services                                 Last 4 digits of account number       5354                                          $             42.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 6/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 23 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.12     Allied Collection Services                                 Last 4 digits of account number       5353                                          $             29.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 6/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.13     Allied Collection Services                                 Last 4 digits of account number       3929                                          $             92.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 9/01/11
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 7 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 24 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.14     Allied Collection Services                                 Last 4 digits of account number       1601                                          $             25.00
          Priority Creditor's Name
          Allied Business                                            When was the debt incurred?           Opened 12/01/12
          Po Box 1799
          Holland, MI 49422
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Promed Healthcare -
                                                                                                1st


 4.15     Ally Financial                                             Last 4 digits of account number       1499                                          $       20,420.00
          Priority Creditor's Name
                                                                                                           Opened 1/01/16 Last
          Po Box 380901                                              When was the debt incurred?           Active 1/29/16
          Bloomington, MN 55438
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Automobile


 4.16     associate pathologist of joliet                            Last 4 digits of account number       5544                                          $           200.00
          Priority Creditor's Name
          2205 Point Blvd                                            When was the debt incurred?           2015
          Suite 220
          Joliet, IL 60435
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 25 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          collection


 4.17     Associate Pathologist of Joliet                            Last 4 digits of account number       4783                                          $             54.50
          Priority Creditor's Name
          2205 Point Blvd                                            When was the debt incurred?
          Ste 220
          Elgin, IL 60123-7840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.18     Bank od America                                            Last 4 digits of account number       3237                                          $               0.00
          Priority Creditor's Name
          Nc4-105-03-14                                                                                    Opened 4/01/03 Last
          Po Box 26012                                               When was the debt incurred?           Active 3/28/08
          Greensboro, NC 27410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.19     Calvary Portfolio Services                                 Last 4 digits of account number       2628                                          $           397.00
          Priority Creditor's Name


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 9 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 26 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          500 Summit Lake Dr                                         When was the debt incurred?           Opened 8/01/12
          Ste 400
          Valhalla, NY 10595
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Citibank


 4.20     Capital One                                                Last 4 digits of account number       5251                                          $         1,094.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 2/01/08 Last
          Po Box 30285                                               When was the debt incurred?           Active 8/03/10
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.21     Capital One                                                Last 4 digits of account number       7894                                          $           506.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 9/01/14 Last
          Po Box 30285                                               When was the debt incurred?           Active 12/24/15
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 10 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 27 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.22     Capital One Auto Finance                                   Last 4 digits of account number       1001                                          $         9,470.00
          Priority Creditor's Name
                                                                                                           Opened 5/01/14 Last
          7933 Preston Rd                                            When was the debt incurred?           Active 11/13/15
          Plano, TX 75024
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Automobile


 4.23     CBCS                                                       Last 4 digits of account number       6065                                          $           715.00
          Priority Creditor's Name
          PO Box 2589                                                When was the debt incurred?           2015
          Columbus, OH 43216-2589
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          collection


 4.24     Cda/pontiac                                                Last 4 digits of account number       9954                                          $           277.00
          Priority Creditor's Name




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 11 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 28 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Attn:Bankruptcy                                            When was the debt incurred?           Opened 8/01/12
          Po Box 213
          Streator, IL 61364
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Joliet Women S Health
                                                                                                Center


 4.25     Cda/pontiac                                                Last 4 digits of account number       6938                                          $           148.00
          Priority Creditor's Name
          Attn:Bankruptcy                                            When was the debt incurred?           Opened 9/01/12
          Po Box 213
          Streator, IL 61364
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Assoc. Pathologists Of
                                                                                                Joliet


 4.26     Chase                                                      Last 4 digits of account number       1595                                          $               0.00
          Priority Creditor's Name
          Attn: Correspondence Dept                                                                        Opened 9/01/06 Last
          Po Box 15298                                               When was the debt incurred?           Active 12/01/06
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 12 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 29 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.27     Chase                                                      Last 4 digits of account number       5279                                          $               0.00
          Priority Creditor's Name
          Attn: Correspondence Dept                                                                        Opened 2/25/08 Last
          Po Box 15298                                               When was the debt incurred?           Active 9/21/10
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.28     Chase Crad Services                                        Last 4 digits of account number       9048                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 7/01/01 Last
          Po Box 15298                                               When was the debt incurred?           Active 5/05/08
          Wilmington, DE 19050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.29     Citi Corp Credit Services                                  Last 4 digits of account number       9149                                          $               0.00
          Priority Creditor's Name



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 13 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 30 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/01/07 Last
          Bankrupt                                                   When was the debt incurred?           Active 7/01/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.30     Citi Corp Credit Services                                  Last 4 digits of account number       9148                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/01/07 Last
          Bankrupt                                                   When was the debt incurred?           Active 7/01/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.31     Citi Corp Credit Services                                  Last 4 digits of account number       9135                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/20/05 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 14 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 31 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.32     Citi Corp Credit Services                                  Last 4 digits of account number       9137                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 3/29/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.33     Citi Corp Credit Services                                  Last 4 digits of account number       9136                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 3/29/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.34     Citi Corp Credit Services                                  Last 4 digits of account number       9138                                          $               0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 15 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 32 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/13/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.35     Citi Corp Credit Services                                  Last 4 digits of account number       9141                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/27/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.36     Citi Corp Credit Services                                  Last 4 digits of account number       9142                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/27/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 16 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 33 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.37     Citi Corp Credit Services                                  Last 4 digits of account number       9143                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 12/05/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.38     Citi Corp Credit Services                                  Last 4 digits of account number       9144                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 12/05/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.39     Citi Corp Credit Services                                  Last 4 digits of account number       9131                                          $               0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 17 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 34 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/20/05 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.40     Citi Corp Credit Services                                  Last 4 digits of account number       9132                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 9/09/05 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.41     Citi Corp Credit Services                                  Last 4 digits of account number       9133                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 10/31/05 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 18 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 35 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.42     Citi Corp Credit Services                                  Last 4 digits of account number       9134                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/20/05 Last
          Bankrupt                                                   When was the debt incurred?           Active 8/31/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.43     Citi Corp Credit Services                                  Last 4 digits of account number       9145                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/01/06 Last
          Bankrupt                                                   When was the debt incurred?           Active 7/01/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.44     Citi Corp Credit Services                                  Last 4 digits of account number       9146                                          $               0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 19 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 36 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/01/07 Last
          Bankrupt                                                   When was the debt incurred?           Active 7/01/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.45     Citi Corp Credit Services                                  Last 4 digits of account number       9147                                          $               0.00
          Priority Creditor's Name
          Citicorp Cred Srvs/ Centralized                                                                  Opened 6/01/07 Last
          Bankrupt                                                   When was the debt incurred?           Active 7/01/09
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.46     Citibank                                                   Last 4 digits of account number       9123                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 10/13/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 20 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 37 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.47     Citibank                                                   Last 4 digits of account number       9124                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 12/19/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.48     Citibank                                                   Last 4 digits of account number       9125                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 12/19/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.49     Citibank                                                   Last 4 digits of account number       9127                                          $               0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 21 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 38 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 5/07/04 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.50     Citibank                                                   Last 4 digits of account number       9128                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 9/28/04 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.51     Citibank                                                   Last 4 digits of account number       9126                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 4/19/04 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 22 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 39 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.52     Citibank                                                   Last 4 digits of account number       9130                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 3/07/05 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.53     Citibank                                                   Last 4 digits of account number       9129                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 3/24/05 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.54     Citibank                                                   Last 4 digits of account number       9121                                          $               0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 23 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 40 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 6/04/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.55     Citibank                                                   Last 4 digits of account number       9120                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 6/04/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.56     Citibank                                                   Last 4 digits of account number       9122                                          $               0.00
          Priority Creditor's Name
          Citicorp Credit Srvs/: Centralized                                                               Opened 9/23/03 Last
          Bankr                                                      When was the debt incurred?           Active 8/31/09
          Po Box 790040
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 24 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 41 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.57     City of Joliet                                             Last 4 digits of account number       7510                                          $           284.89
          Priority Creditor's Name
          150 W Jefferson Street                                     When was the debt incurred?
          Joliet, IL 60432
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.58     ComEd                                                      Last 4 digits of account number       7154                                          $           273.14
          Priority Creditor's Name
          PO Box 6111                                                When was the debt incurred?
          Villa Park, IL 60181
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.59     Credit First/CFNA                                          Last 4 digits of account number       2529                                          $               0.00
          Priority Creditor's Name
          Bk13 Credit Operations                                                                           Opened 11/12/08 Last
          Po Box 818011                                              When was the debt incurred?           Active 6/14/10
          Cleveland, OH 44181
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 25 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 42 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.60     Credit Management, LP                                      Last 4 digits of account number       7923                                          $           256.00
          Priority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 6/01/13
          Po Box 118288
          Carrolton, TX 75011
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Charter
                                                                                                Communications


 4.61     Credit Management, LP                                      Last 4 digits of account number       7236                                          $             56.00
          Priority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 1/01/12
          Po Box 118288
          Carrolton, TX 75011
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Charter
                                                                                                Communications



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 26 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 43 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.62     Credit One Bank                                            Last 4 digits of account number       1493                                          $           295.85
          Priority Creditor's Name
          Po Box 60500                                               When was the debt incurred?
          City of Industry, OR 97716
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.63     Credit One Bank Na                                         Last 4 digits of account number       0968                                          $           481.00
          Priority Creditor's Name
                                                                                                           Opened 12/01/15 Last
          Po Box 98873                                               When was the debt incurred?           Active 2/02/16
          Las Vegas, NV 89193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.64     Dell Financial Services                                    Last 4 digits of account number       3100                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 2/21/03 Last
          Po Box 81577                                               When was the debt incurred?           Active 2/28/10
          Austin, TX 78708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 27 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 44 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.65     Dish Network                                               Last 4 digits of account number       9490                                          $           315.98
          Priority Creditor's Name
          PO BOX 7203                                                When was the debt incurred?
          Pasadena, CA 91109-7303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.66     ERC/Enhanced Recovery Corp                                 Last 4 digits of account number       7809                                          $           773.00
          Priority Creditor's Name
          8014 Bayberry Rd                                           When was the debt incurred?           Opened 1/01/13
          Jacksonville, FL 32256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Sprint


 4.67     Fed Loan Servicing                                         Last 4 digits of account number       0002                                          $       55,200.00
          Priority Creditor's Name
                                                                                                           Opened 7/01/09 Last
          Po Box 69184                                               When was the debt incurred?           Active 1/31/16
          Harrisburg, PA 17106

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 28 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 45 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.68     Fingerhut                                                  Last 4 digits of account number       2517                                          $           381.00
          Priority Creditor's Name
                                                                                                           Opened 12/01/15 Last
          6250 Ridgewood Rd                                          When was the debt incurred?           Active 1/06/16
          St Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.69     Fingerhut                                                  Last 4 digits of account number       8788                                          $           210.00
          Priority Creditor's Name
                                                                                                           Opened 11/01/15 Last
          6250 Ridgewood Rd                                          When was the debt incurred?           Active 1/26/16
          St Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.70     Fingerhut                                                  Last 4 digits of account number       0688                                          $               0.00
          Priority Creditor's Name

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 29 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 46 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

                                                                                                           Opened 7/14/07 Last
          6250 Ridgewood Rd                                          When was the debt incurred?           Active 4/10/11
          St Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.71     First Natl Bank Of Mic                                     Last 4 digits of account number       8159                                          $             77.00
          Priority Creditor's Name
                                                                     When was the debt incurred?           Opened 10/01/09
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Deposit Related


 4.72     First Premier Bank                                         Last 4 digits of account number       6545                                          $           475.00
          Priority Creditor's Name
                                                                                                           Opened 11/01/09 Last
          601 S Minnesota Ave                                        When was the debt incurred?           Active 2/10/10
          Sioux Falls, SD 57104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 30 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 47 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.73     First Premier Bank                                         Last 4 digits of account number       7425                                          $           305.00
          Priority Creditor's Name
                                                                                                           Opened 7/01/15 Last
          601 S Minnesota Ave                                        When was the debt incurred?           Active 12/24/15
          Sioux Falls, SD 57104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.74     First Premier Bank                                         Last 4 digits of account number       7425                                          $           305.82
          Priority Creditor's Name
          PO BOX 5529                                                When was the debt incurred?
          Sioux Falls, SD 57117-5529
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.75     Grandpointe                                                Last 4 digits of account number       16GC                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 11/14/12 Last
          1112 7th Ave                                               When was the debt incurred?           Active 9/27/14
          Monroe, WI 53566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 31 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 48 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.76     Jd Bradsw Pc                                               Last 4 digits of account number       8626                                          $           195.00
          Priority Creditor's Name
          107 W. Michigan Av                                         When was the debt incurred?
          Kalamazoo, MI 49005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Medical


 4.77     KeyBridge Medical Revenue                                  Last 4 digits of account number       7859                                          $           291.00
          Priority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 3/01/11
          Po Box 1568
          Lima, OH 48502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Bronson Practice
                                                                                                Management


 4.78     L J Ross And Associate                                     Last 4 digits of account number       4625                                          $           837.00
          Priority Creditor's Name



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 32 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 49 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Po Box 6099                                                When was the debt incurred?           Opened 9/01/11
          Jackson, MI 49204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Consumers Energy


 4.79     Merrick Bank/Geico Card                                    Last 4 digits of account number       9791                                          $           746.00
          Priority Creditor's Name
                                                                                                           Opened 11/01/15 Last
          Po Box 23356                                               When was the debt incurred?           Active 12/24/15
          Pittsburg, PA 15222
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.80     Michigan Department of Treasury                            Last 4 digits of account number       332S                                          $         1,795.00
          Priority Creditor's Name
          Dept. 77437                                                When was the debt incurred?
          PO BOX 77000
          Detroit, MI 48277-0437
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 33 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 50 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.81     Mid America Bank & Tru                                     Last 4 digits of account number       1144                                          $           327.00
          Priority Creditor's Name
                                                                                                           Opened 12/01/15 Last
                                                                     When was the debt incurred?           Active 2/02/16
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.82     Midamerica/milestone/g                                     Last 4 digits of account number       3777                                          $             75.00
          Priority Creditor's Name
                                                                                                           Opened 12/01/15 Last
          Po Box 4499                                                When was the debt incurred?           Active 1/08/16
          Beaverton, OR 97076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.83     Midland Funding                                            Last 4 digits of account number       1627                                          $           852.00
          Priority Creditor's Name
          2365 Northside Dr                                          When was the debt incurred?           Opened 1/01/13
          Suite 300
          San Diego, CA 92108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 34 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 51 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Metabank


 4.84     Midland Funding                                            Last 4 digits of account number       9836                                          $           603.00
          Priority Creditor's Name
          2365 Northside Dr                                          When was the debt incurred?           Opened 5/01/12
          Suite 300
          San Diego, CA 92108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Chase Bank
                                                                                                Usa N.A.


 4.85     Midland Funding                                            Last 4 digits of account number       7280                                          $           342.00
          Priority Creditor's Name
          2365 Northside Dr                                          When was the debt incurred?           Opened 1/01/13
          Suite 300
          San Diego, CA 92108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Metabank


 4.86     Money Recovery Nationw                                     Last 4 digits of account number       8601                                          $           407.00
          Priority Creditor's Name


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 35 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 52 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          8155 Executive Ct Ste 10                                   When was the debt incurred?           Opened 6/01/10
          Lansing, MI 48917
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Kalamazoo Emergency
                                                                                                Assoc Borg


 4.87     Money Recovery Nationw                                     Last 4 digits of account number       7053                                          $           497.00
          Priority Creditor's Name
          8155 Executive Ct Ste 10                                   When was the debt incurred?           Opened 3/01/12
          Lansing, MI 48917
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Bronson Medical Group


 4.88     Montgomery Ward                                            Last 4 digits of account number       544                                           $           200.00
          Priority Creditor's Name
          PO Box 2843                                                When was the debt incurred?           2015
          Monroe, WI 53566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 36 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 53 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

 4.89     Montgomery Ward                                            Last 4 digits of account number       9290                                          $           308.67
          Priority Creditor's Name
          3650 Milwaukee St.                                         When was the debt incurred?
          Madison, WI 53714
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.90     Personal Finance Co                                        Last 4 digits of account number       7301                                          $         4,308.00
          Priority Creditor's Name
                                                                                                           Opened 9/01/15 Last
          3612 W. Lincoln Hwy. Suite 3                               When was the debt incurred?           Active 12/29/15
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Household Goods Secured


 4.91     Personal Finance Co                                        Last 4 digits of account number       1001                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 9/11/14 Last
          3612 W. Lincoln Hwy. Suite 3                               When was the debt incurred?           Active 1/09/15
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 37 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 54 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Household Goods Secured


 4.92     Personal Finance Co                                        Last 4 digits of account number       9501                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 1/01/15 Last
          3612 W. Lincoln Hwy. Suite 3                               When was the debt incurred?           Active 9/24/15
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Household Goods Secured


 4.93     Personal Finance Co                                        Last 4 digits of account number       6301                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 3/01/13 Last
          3612 W. Lincoln Hwy. Suite 3                               When was the debt incurred?           Active 8/22/14
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Automobile


 4.94     Pinnacle Credit Services                                   Last 4 digits of account number       2480                                          $         1,688.00
          Priority Creditor's Name



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 38 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 55 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Po Box 640                                                 When was the debt incurred?           Opened 12/01/13
          Hopkins, MN 55343
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Verizon
                                                                                                Wireless


 4.95     Portfolio Recover Associates, LLC                          Last 4 digits of account number       7623                                          $           468.12
          Priority Creditor's Name
          P.O. Box 12914                                             When was the debt incurred?
          Norfolk, VA 23541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.96     Portfolio Recovery                                         Last 4 digits of account number       1321                                          $         1,786.00
          Priority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 3/01/11
          Po Box 41067
          Norfolk, VA 23541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Ge Money
                                                                                                Bank

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 39 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 56 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)


 4.97     Portfolio Recovery                                         Last 4 digits of account number       5798                                          $         1,604.00
          Priority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 3/01/11
          Po Box 41067
          Norfolk, VA 23541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Ge Money
                                                                                                Bank


 4.98     Presence Health                                            Last 4 digits of account number       8004                                          $           100.00
          Priority Creditor's Name
          PO Box 88097                                               When was the debt incurred?           2015
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          medical bill


 4.99     Presence Health - St. Joseph
          Hospit                                                     Last 4 digits of account number       8003                                          $           202.29
          Priority Creditor's Name
          1643 Lewis Ave                                             When was the debt incurred?
          Suite 203
          Billings, MT 59102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 40 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 57 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.10
 0        Recovery One Llc                                           Last 4 digits of account number       0267                                          $           181.00
          Priority Creditor's Name
          3240 Henderson Rd                                          When was the debt incurred?           Opened 10/01/14
          Columbus, OH 43220
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Igs Energy


 4.10
 1        Seventh Avenue                                             Last 4 digits of account number       163O                                          $           441.00
          Priority Creditor's Name
                                                                                                           Opened 5/01/11 Last
          1112 7th Ave                                               When was the debt incurred?           Active 9/06/11
          Monroe, WI 53566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.10
 2        Southwest Credit Systems                                   Last 4 digits of account number       6981                                          $         1,210.00
          Priority Creditor's Name



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 41 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 58 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          4120 International Parkway                                 When was the debt incurred?           Opened 12/01/10
          Suite 1100
          Carrollton, TX 75007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Att Mobility


 4.10
 3        Square One Financial/Cach Llc                              Last 4 digits of account number       5648                                          $         4,396.00
          Priority Creditor's Name
          4340 S Monaco St                                           When was the debt incurred?           Opened 2/01/11
          2nd Floor
          Denver, CO 80237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Factoring Company Account Citibank
                                                                                                South Dakota N.A.


 4.10
 4        State of Michigan                                          Last 4 digits of account number                                                     $               0.00
          Priority Creditor's Name
          Dept. of Treasury                                          When was the debt incurred?
          PO Box 30710
          Lansing, MI 48909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 42 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 59 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.10
 5        Stellar Recovery                                           Last 4 digits of account number       5544                                          $           292.00
          Priority Creditor's Name
          1327 Highway 2 W                                           When was the debt incurred?           2015
          Suite 100
          Kalispell, MT 59901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          collection


 4.10
 6        Syncb/tuffy Associates                                     Last 4 digits of account number       2917                                          $               0.00
          Priority Creditor's Name
                                                                                                           Opened 9/28/06 Last
          C/o Po Box 965036                                          When was the debt incurred?           Active 6/23/08
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.10
 7        Synchrony Bank/Care Credit                                 Last 4 digits of account number       3783                                          $               0.00
          Priority Creditor's Name

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 43 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 60 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Attn: bankruptcy                                                                                 Opened 7/01/10 Last
          Po Box 103104                                              When was the debt incurred?           Active 3/30/11
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.10
 8        Synchrony Bank/Gap                                         Last 4 digits of account number       5798                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 3/14/07 Last
          Po Box 103104                                              When was the debt incurred?           Active 7/16/10
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.10
 9        Synchrony Bank/Sams                                        Last 4 digits of account number       9726                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/01/01 Last
          Po Box 103104                                              When was the debt incurred?           Active 7/06/05
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 44 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 61 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.11
 0        Synchrony Bank/Walmart                                     Last 4 digits of account number       1321                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/26/09 Last
          Po Box 103104                                              When was the debt incurred?           Active 7/15/10
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.11
 1        Synchrony Bank/Walmart                                     Last 4 digits of account number       5061                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 4/01/00 Last
          Po Box 103104                                              When was the debt incurred?           Active 2/19/06
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Charge Account


 4.11
 2        US Dept of Education                                       Last 4 digits of account number       9911                                          $               0.00
          Priority Creditor's Name


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 45 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                             Desc Main
                                                                 Document     Page 62 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

          Attn: Bankruptcy                                                                                 Opened 7/16/09 Last
          Po Box 16448                                               When was the debt incurred?           Active 4/26/10
          Saint Paul, MN 55116
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.11
 3        US Dept of Education                                       Last 4 digits of account number       9999                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/16/09 Last
          Po Box 16448                                               When was the debt incurred?           Active 5/03/13
          Saint Paul, MN 55116
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.11
 4        US Dept of Education                                       Last 4 digits of account number       0099                                          $               0.00
          Priority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/16/09 Last
          Po Box 16448                                               When was the debt incurred?           Active 5/03/13
          Saint Paul, MN 55116
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 46 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
                Case 16-04935                    Doc 1           Filed 02/16/16 Entered 02/16/16 16:43:26                                            Desc Main
                                                                  Document     Page 63 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                                     Case number (if know)

           Who incurred the debt? Check one.                            Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt
           Is the claim subject to offset?                               Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                                Educational

 4.11
 5         Verizon Wireless                                          Last 4 digits of account number       0001                                             $           185.90
           Priority Creditor's Name
           PO Box 4002                                               When was the debt incurred?
           Acworth, GA 30101
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply

           Who incurred the debt? Check one.                            Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt
           Is the claim subject to offset?                               Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Name Address                                                   On which entry in Part 1 or Part2 did you list the original creditor?
 -NONE-                                                         Line of (Check one):         Part 1: Creditors with Priority Unsecured Claims
                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
                                                                Last 4 digits of account number

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.
                                                                                                                            Total claim
                        6a.   Domestic support obligations                                                    6a.       $                            0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                            6b.       $                     5,401.00
                        6c.   Claims for death or personal injury while you were intoxicated                  6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.         6d.       $                         0.00

                        6e.   Total. Add lines 6a through 6d.                                                 6e.       $                     5,401.00

                                                                                                                       Total Claim
                        6f.   Student loans                                                                   6f.       $                    55,200.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that               6g.       $                            0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 47 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                          Desc Main
                                                                 Document     Page 64 of 92
 Debtor 1 Mark P Andrews
 Debtor 2 Sueann Andrews                                                                             Case number (if know)

                              you did not report as priority claims
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $               63,711.06

                        6j.   Total. Add lines 6f through 6i.                                         6j.     $              118,911.06




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 48 of 48
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                       Case 16-04935               Doc 1           Filed 02/16/16 Entered 02/16/16 16:43:26                          Desc Main
                                                                    Document     Page 65 of 92
 Fill in this information to identify your case:

 Debtor 1                  Mark P Andrews
                           First Name                         Middle Name              Last Name

 Debtor 2                  Sueann Andrews
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                       Case 16-04935                 Doc 1           Filed 02/16/16 Entered 02/16/16 16:43:26                  Desc Main
                                                                      Document     Page 66 of 92
 Fill in this information to identify your case:

 Debtor 1                   Mark P Andrews
                            First Name                           Middle Name        Last Name

 Debtor 2                   Sueann Andrews
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                 Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                   Schedule D, line
                 Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                      Case 16-04935           Doc 1       Filed 02/16/16 Entered 02/16/16 16:43:26                               Desc Main
                                                           Document     Page 67 of 92


Fill in this information to identify your case:

Debtor 1                      Mark P Andrews

Debtor 2                      Sueann Andrews
(Spouse, if filing)

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                                Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with            Employment status
                                                                         Not employed                                Not employed
       information about additional
       employers.
                                              Occupation              Maintenance Mechanic
       Include part-time, seasonal, or
       self-employed work.                    Employer's name         DS Smith

       Occupation may include student or Employer's address
       homemaker, if it applies.
                                                                      1201 Windham Pkwy
                                                                      Romeoville, IL 60446

                                              How long employed there?           1 yr

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        4,381.00       $                N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$        1,083.33       +$               N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      5,464.33             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
              Case 16-04935              Doc 1         Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                        Document     Page 68 of 92

Debtor 1    Mark P Andrews
Debtor 2    Sueann Andrews                                                                         Case number (if known)



                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse
      Copy line 4 here                                                                      4.         $      5,464.33       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                  5a.        $        550.33       $               N/A
      5b.    Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.    Insurance                                                                      5e.        $        617.50       $               N/A
      5f.    Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.    Union dues                                                                     5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $          1,167.83       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $          4,296.50       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                            8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                         8d.        $              0.00   $               N/A
      8e.    Social Security                                                                8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                      8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                    8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $           4,296.50 + $            N/A = $          4,296.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.   +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.     $          4,296.50
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                       Schedule I: Your Income                                                      page 2
              Case 16-04935                 Doc 1         Filed 02/16/16 Entered 02/16/16 16:43:26                                     Desc Main
                                                           Document     Page 69 of 92


Fill in this information to identify your case:

Debtor 1                 Mark P Andrews                                                                      Check if this is:
                                                                                                                 An amended filing
Debtor 2                 Sueann Andrews                                                                          A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and                      Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
                                            Yes.    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?
      Debtor 2.

      Do not state the                                                                                                                       No
      dependents names.                                                             Daughter                             3                   Yes
                                                                                                                                             No
                                                                                    Son                                  4                   Yes
                                                                                                                                             No
                                                                                    Daughter                             5                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             800.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.    $                           150.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                             0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                            page 1
            Case 16-04935                  Doc 1         Filed 02/16/16 Entered 02/16/16 16:43:26                                       Desc Main
                                                          Document     Page 70 of 92

Debtor 1     Mark P Andrews
Debtor 2     Sueann Andrews                                                                             Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                   6a. $                                               250.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               150.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                   6c. $                                               150.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                            7. $                                             1,000.00
8.    Childcare and children’s education costs                                                  8. $                                               100.00
9.    Clothing, laundry, and dry cleaning                                                       9. $                                               200.00
10.   Personal care products and services                                                      10. $                                               125.00
11.   Medical and dental expenses                                                              11. $                                               250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 75.00
14.   Charitable contributions and religious donations                                         14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                100.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: government fine                                                                 16. $                                                100.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                403.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                           $                                                  0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                   0.00
      20b. Real estate taxes                                                                  20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                   0.00
21.   Other: Specify:                                                                          21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       4,353.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       4,353.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              4,296.50
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                             4,353.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  -56.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Joint Debtor is pregnant




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                       Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                           Desc Main
                                                                 Document     Page 71 of 92




 Fill in this information to identify your case:

 Debtor 1                  Mark P Andrews
                           First Name                      Middle Name              Last Name

 Debtor 2                  Sueann Andrews
 (Spouse if, filing)       First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer’s Notice, Declaration,
                                                                                                 and Signature (Official Form 119).


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Mark P Andrews                                                        X   /s/ Sueann Andrews
              Mark P Andrews                                                            Sueann Andrews
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date      February 16, 2016                                               Date    February 16, 2016




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                       Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                                 Document     Page 72 of 92


 Fill in this information to identify your case:

 Debtor 1                  Mark P Andrews
                           First Name                      Middle Name                   Last Name

 Debtor 2                  Sueann Andrews
 (Spouse if, filing)       First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived       Debtor 2 Prior Address:                              Dates Debtor 2
                                                                there                                                                           lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                Gross income                   Sources of income             Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                   exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                         $7,397.00           Wages, commissions,                          $0.00
 the date you filed for bankruptcy:                                                                               bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                           Operating a business




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                Case 16-04935                     Doc 1         Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                                 Document     Page 73 of 92
 Debtor 1     Mark P Andrews
 Debtor 2     Sueann Andrews                                                                               Case number (if known)


                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                Gross income                   Sources of income             Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                   exclusions)                                                  and exclusions)

 For last calendar year:                             Wages, commissions,                       $66,000.00            Wages, commissions,                       $0.00
 (January 1 to December 31, 2015 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                       $61,997.00            Wages, commissions,                       $0.00
 (January 1 to December 31, 2014 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                Gross income                   Sources of income             Gross income
                                                  Describe below..                 (before deductions and         Describe below.               (before deductions
                                                                                   exclusions)                                                  and exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.      Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you paid that
                                 creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                 payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                              Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                    paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                  Case 16-04935                  Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                   Desc Main
                                                                 Document     Page 74 of 92
 Debtor 1     Mark P Andrews
 Debtor 2     Sueann Andrews                                                                               Case number (if known)


      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                        Date                        Value of the
                                                                                                                                                            property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                        Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 16-04935                   Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                 Desc Main
                                                                 Document     Page 75 of 92
 Debtor 1     Mark P Andrews
 Debtor 2     Sueann Andrews                                                                               Case number (if known)


 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                  Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                 loss                            lost
                                                           Include the amount that insurance has paid. List pending
                                                           insurance claims on line 33 of Schedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                   Date payment or           Amount of
       Address                                                       transferred                                             transfer was               payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       John Carlin                                                   Attorney Fees; $950 in 2015-2016                        2015-2016                   $950.00
       1305 Remington Road
       Suite C
       Schaumburg, IL 60173
       Schaumburg, IL 60173
       jcarlin@changandcarlin.com


       Credit Info Net                                               $150 for 2 years tax transcripts, credit                2015                        $150.00
       Dayton, OH                                                    reports, credit counseling and debtor
                                                                     education


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                   Date payment or           Amount of
       Address                                                       transferred                                             transfer was               payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                  Describe any property or        Date transfer was
       Address                                                       property transferred                      payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                 Case 16-04935                   Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                                  Desc Main
                                                                 Document     Page 76 of 92
 Debtor 1      Mark P Andrews
 Debtor 2      Sueann Andrews                                                                                   Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or           Date account was    Last balance before
       Address (Number, Street, City, State and ZIP             account number                instrument                   closed, sold,        closing or transfer
       Code)                                                                                                               moved, or
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State                                         have it?
                                                                     and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City, State
                                                                     and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you      Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                  Case 16-04935                      Doc 1      Filed 02/16/16 Entered 02/16/16 16:43:26                                   Desc Main
                                                                 Document     Page 77 of 92
 Debtor 1      Mark P Andrews
 Debtor 2      Sueann Andrews                                                                                   Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you          Date of notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                    Status of the
        Case Number                                                  Name                                                                             case
                                                                     Address (Number, Street, City, State
                                                                     and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business                  Employer Identification number
        Address                                                                                                      Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Mark P Andrews                                                      /s/ Sueann Andrews
 Mark P Andrews                                                          Sueann Andrews
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      February 16, 2016                                             Date        February 16, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                       Case 16-04935             Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                             Desc Main
                                                                 Document     Page 78 of 92

 Fill in this information to identify your case:

 Debtor 1                   Mark P Andrews
                            First Name                     Middle Name               Last Name

 Debtor 2                   Sueann Andrews
 (Spouse if, filing)        First Name                     Middle Name               Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's          Ally Financial                                     Surrender the property.                                       No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation            Yes
    Description of         2011 Chrysler Town and Country                  Agreement.
    property               6000 miles                                      Retain the property and [explain]:
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No

Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                            page 1

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                Desc Main
                                                                 Document     Page 79 of 92

B8 (Form 8) (12/08)                                                                                                                    Page 2
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Mark P Andrews                                                          X /s/ Sueann Andrews
       Mark P Andrews                                                                  Sueann Andrews
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        February 16, 2016                                               Date     February 16, 2016




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                          page 2

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                 Desc Main
                                                                 Document     Page 80 of 92

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245    filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +         $15     trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335    total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                     Desc Main
                                                                 Document     Page 81 of 92


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A–1) if you                                     as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                     Desc Main
                                                                 Document     Page 82 of 92
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 3

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                  Desc Main
                                                                 Document     Page 83 of 92
                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26                      Desc Main
                                                                 Document     Page 84 of 92
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
             Mark P Andrews
 In re       Sueann Andrews                                                                                  Case No.
                                                                                  Debtor(s)                  Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                       0.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A)
                 for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any
               other adversary proceeding.
                                                                          CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 16, 2016                                                           /s/ John P. Carlin
     Date                                                                        John P. Carlin 6277222
                                                                                 Signature of Attorney
                                                                                 John Carlin
                                                                                 1305 Remington Road
                                                                                 Suite C
                                                                                 Schaumburg, IL 60173
                                                                                 847-843-8600 Fax: 847-843-8605
                                                                                 jcarlin@changandcarlin.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                Case 16-04935                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:43:26               Desc Main
                                                                 Document     Page 85 of 92




                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            Mark P Andrews
 In re      Sueann Andrews                                                                              Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 63




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: February 16, 2016                                               /s/ Mark P Andrews
                                                                       Mark P Andrews
                                                                       Signature of Debtor

 Date: February 16, 2016                                               /s/ Sueann Andrews
                                                                       Sueann Andrews
                                                                       Signature of Debtor




Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
    Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                             Document     Page 86 of 92

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Agha Medical Inc
                      1603 Woodland Lane
                      Bolingbrook, IL 60490


                      Allied Collection Services
                      Allied Business
                      Po Box 1799
                      Holland, MI 49422


                      Ally Financial
                      Po Box 380901
                      Bloomington, MN 55438


                      Ally Financial
                      PO Box 130424
                      Saint Paul, MN 55113


                      associate pathologist of joliet
                      2205 Point Blvd
                      Suite 220
                      Joliet, IL 60435


                      Associate Pathologist of Joliet
                      2205 Point Blvd
                      Ste 220
                      Elgin, IL 60123-7840


                      Bank od America
                      Nc4-105-03-14
                      Po Box 26012
                      Greensboro, NC 27410


                      Calvary Portfolio Services
                      500 Summit Lake Dr
                      Ste 400
                      Valhalla, NY 10595


                      Capital One
                      Attn: Bankruptcy
                      Po Box 30285
                      Salt Lake City, UT 84130


                      Capital One Auto Finance
                      7933 Preston Rd
                      Plano, TX 75024
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 87 of 92


                  CBCS
                  PO Box 2589
                  Columbus, OH 43216-2589


                  Cda/pontiac
                  Attn:Bankruptcy
                  Po Box 213
                  Streator, IL 61364


                  Chase
                  Attn: Correspondence Dept
                  Po Box 15298
                  Wilmington, DE 19850


                  Chase Crad Services
                  Po Box 15298
                  Wilmington, DE 19050


                  Citi Corp Credit Services
                  Citicorp Cred Srvs/ Centralized Bankrupt
                  Po Box 790040
                  St Louis, MO 63179


                  Citibank
                  Citicorp Credit Srvs/: Centralized Bankr
                  Po Box 790040
                  Saint Louis, MO 63179


                  City of Joliet
                  150 W Jefferson Street
                  Joliet, IL 60432


                  ComEd
                  PO Box 6111
                  Villa Park, IL 60181


                  Credit First/CFNA
                  Bk13 Credit Operations
                  Po Box 818011
                  Cleveland, OH 44181


                  Credit Management, LP
                  Attn: Bankruptcy
                  Po Box 118288
                  Carrolton, TX 75011
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 88 of 92


                  Credit One Bank
                  Po Box 60500
                  City of Industry, OR 97716


                  Credit One Bank Na
                  Po Box 98873
                  Las Vegas, NV 89193


                  Dell Financial Services
                  Po Box 81577
                  Austin, TX 78708


                  Dish Network
                  PO BOX 7203
                  Pasadena, CA 91109-7303


                  ERC/Enhanced Recovery Corp
                  8014 Bayberry Rd
                  Jacksonville, FL 32256


                  Fed Loan Servicing
                  Po Box 69184
                  Harrisburg, PA 17106


                  Fingerhut
                  6250 Ridgewood Rd
                  St Cloud, MN 56303


                  First Natl Bank Of Mic



                  First Premier Bank
                  601 S Minnesota Ave
                  Sioux Falls, SD 57104


                  First Premier Bank
                  PO BOX 5529
                  Sioux Falls, SD 57117-5529


                  Grandpointe
                  1112 7th Ave
                  Monroe, WI 53566
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 89 of 92


                  Illinois Department of Revenue
                  P.O. Box 64338
                  Chicago, IL 60664


                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346


                  Jd Bradsw Pc
                  107 W. Michigan Av
                  Kalamazoo, MI 49005


                  KeyBridge Medical Revenue
                  Attn: Bankruptcy
                  Po Box 1568
                  Lima, OH 48502


                  L J Ross And Associate
                  Po Box 6099
                  Jackson, MI 49204


                  Merrick Bank/Geico Card
                  Po Box 23356
                  Pittsburg, PA 15222


                  Michigan Department of Treasury
                  Dept. 77437
                  PO BOX 77000
                  Detroit, MI 48277-0437


                  Mid America Bank & Tru



                  Midamerica/milestone/g
                  Po Box 4499
                  Beaverton, OR 97076


                  Midland Funding
                  2365 Northside Dr
                  Suite 300
                  San Diego, CA 92108


                  Money Recovery Nationw
                  8155 Executive Ct Ste 10
                  Lansing, MI 48917
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 90 of 92


                  Montgomery Ward
                  PO Box 2843
                  Monroe, WI 53566


                  Montgomery Ward
                  3650 Milwaukee St.
                  Madison, WI 53714


                  Personal Finance Co
                  3612 W. Lincoln Hwy. Suite 3
                  Olympia Fields, IL 60461


                  Pinnacle Credit Services
                  Po Box 640
                  Hopkins, MN 55343


                  Portfolio Recover Associates, LLC
                  P.O. Box 12914
                  Norfolk, VA 23541


                  Portfolio Recovery
                  Attn: Bankruptcy
                  Po Box 41067
                  Norfolk, VA 23541


                  Presence Health
                  PO Box 88097
                  Chicago, IL 60680


                  Presence Health - St. Joseph Hospit
                  1643 Lewis Ave
                  Suite 203
                  Billings, MT 59102


                  Recovery One Llc
                  3240 Henderson Rd
                  Columbus, OH 43220


                  Seventh Avenue
                  1112 7th Ave
                  Monroe, WI 53566
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 91 of 92


                  Southwest Credit Systems
                  4120 International Parkway
                  Suite 1100
                  Carrollton, TX 75007


                  Square One Financial/Cach Llc
                  4340 S Monaco St
                  2nd Floor
                  Denver, CO 80237


                  State of Michigan
                  Dept. of Treasury
                  PO Box 30710
                  Lansing, MI 48909


                  Stellar Recovery
                  1327 Highway 2 W
                  Suite 100
                  Kalispell, MT 59901


                  Syncb/tuffy Associates
                  C/o Po Box 965036
                  Orlando, FL 32896


                  Synchrony Bank/Care Credit
                  Attn: bankruptcy
                  Po Box 103104
                  Roswell, GA 30076


                  Synchrony Bank/Gap
                  Attn: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076


                  Synchrony Bank/Sams
                  Attn: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076


                  Synchrony Bank/Walmart
                  Attn: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076
Case 16-04935   Doc 1   Filed 02/16/16 Entered 02/16/16 16:43:26   Desc Main
                         Document     Page 92 of 92


                  US Dept of Education
                  Attn: Bankruptcy
                  Po Box 16448
                  Saint Paul, MN 55116


                  Verizon Wireless
                  PO Box 4002
                  Acworth, GA 30101
